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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

AMANDA B.,1                                       3:20-CV-00434-BR

             Plaintiff,                           OPINION AND ORDER

v.

COMMISSIONER, SOCIAL
SECURITY ADMINISTRATION,

             Defendant.

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     1
       In the interest of privacy this Court uses only the first
name and the initial of the last name of the nongovernmental
party in this case.

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BROWN, Senior Judge.

        Plaintiff Amanda B. seeks judicial review of a final

decision of the Commissioner of the Social Security

Administration (SSA) in which she denied Plaintiff's application

for Disability Insurance Benefits (DIB) under Title II of the

Social Security Act.          This Court has jurisdiction to review the

Commissioner's final decision pursuant to 42 U.S.C. § 405(g).

        For the reasons that follow, the Court AFFIRMS the decision

of the Commissioner and DISMISSES this matter.



                              ADMINISTRATIVE HISTORY

        Plaintiff filed an application for DIB on June 19, 2017,

alleging a disability onset date of March 1, 2016.                   Tr. 163-70.1

The application was denied initially and on reconsideration.                      An

Administrative Law Judge (ALJ) held a hearing on January 31,

2019.        Tr. 31-68.    Plaintiff was represented at the hearing.


        1
       Citations to the official transcript of record filed by
the Commissioner on September 29, 2020, are referred to as "Tr."

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Plaintiff and a vocational expert (VE) testified.

     The ALJ issued a decision on February 15, 2019, in which he

found Plaintiff is not entitled to benefits.          Tr. 13-25.

Pursuant to 20 C.F.R. § 404.984(d), that decision became the

final decision of the Commissioner on January 25, 2020, when the

Appeals Council denied Plaintiff's request for review.             Tr. 1-6.

See Sims v. Apfel, 530 U.S. 103, 106-07 (2000).



                               BACKGROUND

     Plaintiff was born on September 21, 1985, and was 33 years

old at the time of the hearing.      Tr. 164.     Plaintiff has a high

school education and two years of college.         Tr. 204.      Plaintiff

has past relevant work experience as a bartender, waitress,

cashier, and caterer’s helper.      Tr. 24.    Plaintiff alleges

disability due to irritable bowel syndrome (IBS), severe anxiety,

“back injury,” panic attacks, a displaced tailbone, a neck

injury, “constant body pain,” carpal tunnel syndrome (CTS),

chronic headaches, and insomnia.      Tr. 69.

     Except when noted, Plaintiff does not challenge the ALJ’s

summary of the medical evidence.      After carefully reviewing the

medical records, this Court adopts the ALJ’s summary of the

medical evidence.   See Tr. 20-22.




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                                STANDARDS

     The initial burden of proof rests on the claimant to

establish disability.     Molina v. Astrue, 674 F.3d 1104, 1110 (9th

Cir. 2012).   To meet this burden a claimant must demonstrate her

inability "to engage in any substantial gainful activity by

reason of any medically determinable physical or mental

impairment which . . . has lasted or can be expected to last for

a continuous period of not less than 12 months."              42 U.S.C.

§ 423(d)(1)(A).     The ALJ must develop the record when there is

ambiguous evidence or when the record is inadequate to allow for

proper evaluation of the evidence.          McLeod v. Astrue, 640 F.3d

881, 885 (9th Cir. 2011)(quoting Mayes v. Massanari, 276 F.3d

453, 459–60 (9th Cir. 2001)).

     The district court must affirm the Commissioner's decision

if it is based on proper legal standards and the findings are

supported by substantial evidence in the record as a whole.                  42

U.S.C. § 405(g).     See also Brewes v. Comm’r of Soc. Sec. Admin.,

682 F.3d 1157, 1161 (9th Cir. 2012).         Substantial evidence is

“relevant evidence that a reasonable mind might accept as

adequate to support a conclusion.”          Molina, 674 F.3d. at 1110-11

(quoting Valentine v. Comm’r Soc. Sec. Admin., 574 F.3d 685, 690

(9th Cir. 2009)).    "It is more than a mere scintilla [of

evidence] but less than a preponderance."           Id. (citing Valentine,

574 F.3d at 690).


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     The ALJ is responsible for determining credibility,

resolving conflicts in the medical evidence, and resolving

ambiguities.     Vasquez v. Astrue, 572 F.3d 586, 591 (9th Cir.

2009).    The court must weigh all of the evidence whether it

supports or detracts from the Commissioner's decision.             Ryan v.

Comm’r of Soc. Sec., 528 F.3d 1194, 1198 (9th Cir. 2008).             Even

when the evidence is susceptible to more than one rational

interpretation, the court must uphold the Commissioner’s findings

if they are supported by inferences reasonably drawn from the

record.     Ludwig v. Astrue, 681 F.3d 1047, 1051 (9th Cir. 2012).

The court may not substitute its judgment for that of the

Commissioner.     Widmark v. Barnhart, 454 F.3d 1063, 1070 (9th Cir.

2006).



                          DISABILITY ANALYSIS

I.   The Regulatory Sequential Evaluation

     The Commissioner has developed a five-step sequential

inquiry to determine whether a claimant is disabled within the

meaning of the Act.     Parra v. Astrue, 481 F.3d 742, 746 (9th Cir.

2007).    See also 20 C.F.R. § 404.1520.      Each step is potentially

dispositive.

     At Step One the claimant is not disabled if the Commissioner

determines the claimant is engaged in substantial gainful

activity.     20 C.F.R. § 404.1520(a)(4)(I).      See also Keyser v.

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Comm’r of Soc. Sec., 648 F.3d 721, 724 (9th Cir. 2011).

     At Step Two the claimant is not disabled if the Commissioner

determines the claimant does not have any medically severe

impairment or combination of impairments.          20 C.F.R. §§ 404.1509,

404.1520(a)(4)(ii).     See also Keyser, 648 F.3d at 724.

     At Step Three the claimant is disabled if the Commissioner

determines the claimant’s impairments meet or equal one of the

listed impairments that the Commissioner acknowledges are so

severe as to preclude substantial gainful activity.              20 C.F.R.

§ 404.1520(a)(4)(iii).       See also Keyser, 648 F.3d at 724.          The

criteria for the listed impairments, known as Listings, are

enumerated in 20 C.F.R. part 404, subpart P, appendix 1 (Listed

Impairments).

     If the Commissioner proceeds beyond Step Three, she must

assess the claimant’s residual functional capacity (RFC).               The

claimant’s RFC is an assessment of the sustained, work-related

physical and mental activities the claimant can still do on a

regular and continuing basis despite her limitations.              20 C.F.R.

§ 404.1520(e).   See also Social Security Ruling (SSR) 96-8p.                 “A

'regular and continuing basis' means 8 hours a day, for 5 days a

week, or an equivalent schedule."       SSR 96-8p, at *1.         In other

words, the Social Security Act does not require complete

incapacity to be disabled.       Taylor v. Comm’r of Soc. Sec. Admin.,

659 F.3d 1228, 1234-35 (9th Cir. 2011)(citing Fair v. Bowen, 885


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F.2d 597, 603 (9th Cir. 1989)).

     At Step Four the claimant is not disabled if the

Commissioner determines the claimant retains the RFC to perform

work she has done in the past.      20 C.F.R. § 404.1520(a)(4)(iv).

See also Keyser, 648 F.3d at 724.

     If the Commissioner reaches Step Five, she must determine

whether the claimant is able to do any other work that exists in

the national economy.    20 C.F.R. § 404.1520(a)(4)(v).           See also

Keyser, 648 F.3d at 724-25.     Here the burden shifts to the

Commissioner to show a significant number of jobs exist in the

national economy that the claimant can perform.             Lockwood v.

Comm’r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).

The Commissioner may satisfy this burden through the testimony of

a VE or by reference to the Medical-Vocational Guidelines set

forth in the regulations at 20 C.F.R. part 404, subpart P,

appendix 2.   If the Commissioner meets this burden, the claimant

is not disabled.   20 C.F.R. § 404.1520(g)(1).



                             ALJ'S FINDINGS

     At Step One the ALJ found Plaintiff did not engage in

substantial gainful activity after her March 1, 2016, alleged

onset date.   Tr. 15.

     At Step Two the ALJ found Plaintiff has the severe

impairments of IBS, bipolar disorder, anxiety disorder,


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depressive disorder, and post-traumatic stress disorder (PTSD).

Tr. 15.   The ALJ found Plaintiff’s back and neck injury,

displaced tailbone, constant body pain, CTS, and chronic

headaches are not medically determinable impairments.              Tr. 16.

      At Step Three the ALJ concluded Plaintiff's medically

determinable impairments do not meet or medically equal one of

the listed impairments in 20 C.F.R. part 404, subpart P, appendix

1.   Tr. 16.   The ALJ found Plaintiff has the RFC to perform light

work except:

            [Plaintiff] can occasionally stoop, squat, crouch,
            crawl, kneel, and climb ramps and stairs; she can
            never climb ladders, ropes, or scaffolds; she is
            capable of engaging in unskilled, repetitive,
            routine tasks in two-hour increments; she should
            have no contact with public; she is capable of
            working in proximity to but not in coordination
            with co-workers; she can have occasional contact
            with supervisors; she would be up to 9% less
            productive than the average worker in the
            workplace; and she would be absent from work up to
            one and one-half days per month.

Tr. 18.

      At Step Four the ALJ found Plaintiff cannot perform her past

relevant work.   Tr. 24.

      At Step Five the ALJ found Plaintiff can perform other work

that exists in significant numbers in the national economy.

Tr. 24.   Accordingly, the ALJ concluded Plaintiff is not

disabled.




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                                DISCUSSION

     Plaintiff contends the ALJ erred when he (1) partially

rejected Plaintiff’s testimony; (2) partially rejected the

statement of Plaintiff’s husband David B.; (3) partially rejected

the opinion of treating mental-health professional Alicia Sager,

Q.M.H.P.; and (4) found at Step Five that Plaintiff can perform

other work that exists in the national economy.

I.   The ALJ did not err when he partially rejected Plaintiff’s
     testimony.

     Plaintiff alleges the ALJ erred when he partially rejected

Plaintiff’s testimony.

     The ALJ engages in a two-step analysis to determine whether

a claimant's testimony regarding subjective pain or symptoms is

credible.   “First, the ALJ must determine whether the claimant

has presented objective medical evidence of an underlying

impairment ‘which could reasonably be expected to produce the

pain or other symptoms alleged.’”       Garrison v. Colvin, 759 F.3d

995, 1014 (9th Cir. 2014)(quoting Lingenfelter v. Astrue, 504

F.3d 1028, 1035-36 (9th Cir. 2007)).        The claimant need not show

his “impairment could reasonably be expected to cause the

severity of the symptom [he] has alleged; [he] need only show

that it could reasonably have caused some degree of the symptom.”

Garrison, 759 F.3d at 1014 (quoting Smolen v. Chater, 80 F.3d

1273, 1282 (9th Cir. 1996)).      A claimant is not required to



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produce “objective medical evidence of the pain or fatigue

itself, or the severity thereof.”       Garrison, 759 F.3d at 1014.

     If the claimant satisfies the first step of this analysis

and there is not any affirmative evidence of malingering, “the

ALJ can reject the claimant's testimony about the severity of

[his] symptoms only by offering specific, clear and convincing

reasons for doing so.”       Garrison, 759 F.3d at 1014-15.          See also

Robbins v. Soc. Sec. Admin., 466 F.3d 880, 883 (9th Cir. 2006)

(same).    General assertions that the claimant's testimony is not

credible are insufficient.       Parra v. Astrue, 481 F.3d 742, 750

(9th Cir. 2007).     The ALJ must identify “what testimony is not

credible and what evidence undermines the claimant's complaints.”

Id. (quoting Lester v. Chater, 81 F.3d 821, 834 (9th Cir. 1995)).

     Plaintiff testified at the hearing that she stopped working

due to anxiety.    Plaintiff stated she was “bawling in the middle

of [every] shift and [her] heart was about to race out of [her

chest]” from anxiety.     Tr. 50.    Plaintiff noted she gets anxious

and disorganized when she has to go grocery shopping.               Tr. 36.

Plaintiff’s anxiety also “make[s] it difficult or even impossible

to get out the front door . . . more often than it should.”

Tr. 58.    Plaintiff stated she missed appointments with doctors or

counselors “quite a few times in the past year” due to her

anxiety.   Tr. 58.    Plaintiff testified she cannot work due to

side effects from the medications she takes for her anxiety.


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Plaintiff takes Lithium three times per day, Zyprexa “usually in

the evening,” and Lorazepam three times per week as needed.

Tr. 51.   Plaintiff testified her medications make her feel dizzy

and have daily headaches, Lorazepam makes her “tired and dizzy,”

and Lithium makes her feel “tired and dull” and unable to

concentrate.   Tr. 53-54.     Plaintiff stated she also cannot work

due to IBS.    Plaintiff testified she is often severely

constipated for four or five days and then she will have diarrhea

and go to the bathroom ten times per day.           Plaintiff testified

she has regular bowel movements “maybe a couple of days out of

the whole month.”    Tr. 63.

     In her May 20, 2017, Adult Function Report Plaintiff stated

she is unable to work due to anxiety, IBS, CTS, and chronic

insomnia.   Plaintiff reported she does not handle stress or

changes in routine well, is “scared of everything,” and has

nightmares constantly.       Tr. 226-27.    Plaintiff noted she

“bath[es], feed[s], and dress[es] her [three] children daily,”

feeds her dogs, walks her dogs “when [she] feel[s] ok,” can

“sometimes” finish what she starts, is “good” with spoken

instructions, and gets along with authority figures

“wonderful[ly].”    Tr. 221-23.

     The ALJ found Plaintiff’s “medically determinable

impairments could reasonably be expected to cause the alleged

symptoms,” but Plaintiff’s “statements concerning the intensity,


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persistence and limiting effects of [her] symptoms are not

entirely consistent with the medical evidence and other evidence

in the record.”   Tr. 19.    The ALJ noted Plaintiff was able to

care for her three children.      In fact, in November 2018 Plaintiff

reported her husband did not “help at all with the caregiving or

keeping up with the house.”      Tr. 667.    Plaintiff testified at the

hearing that she is “in charge of making sure [her oldest

daughter] takes her medications at the right times and the right

dosages” and that she is “staying on top of that.”             Tr. 40.      The

ALJ also noted Plaintiff testified at the January 2019 hearing

she does not drive very often, but she also testified that in

December 2018 she drove her children to Idaho and back, which

indicated Plaintiff was capable of “fairly significant

concentration.”   Tr. 20.    The ALJ stated the record also does not

support Plaintiff’s alleged level of impairment from IBS.

Specifically, on April 20, 2016, Plaintiff reported to the

emergency room complaining of “intermittent diarrhea and

constipation.”    Tr. 321.   Plaintiff’s examination, however, was

unremarkable and Plaintiff was diagnosed with palpitations,

gastritis, and gastroesophageal reflux disease (GERD) and

prescribed “Prilosec over-the-counter twice daily.”             Tr. 323.     On

February 13, 2017, Plaintiff was seen by Amanda Christensen,

P.A.C., for abdominal pain and “irregular bowel habits.”

Tr. 376.   Christensen noted Plaintiff underwent a CT scan, EGD,


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and colonoscopy in January 2016 all of which were unremarkable.

Tr. 376.   Christensen diagnosed Plaintiff with IBS, mixed type;

prescribed one capful of MiraLAX daily for constipation; and

recommended a follow-up visit in two months.           Tr. 378.      Plaintiff

underwent an ultrasound in April 2017, which showed a mildly

echogenic liver consistent with fatty infiltration and was

otherwise normal.     Tr. 375.   Plaintiff did not undergo any

further follow-up treatment for IBS.

     As to Plaintiff’s anxiety, the ALJ noted the record reflects

Plaintiff’s mental symptoms were generally well managed when she

consistently took the proper dosage of medication.              For example,

Plaintiff reported to Mahkameh Mehdianrad, P.A.C., in June 2016

that she began experiencing anxiety approximately four months

earlier when her boyfriend had a car accident.              Plaintiff

reported having nightmares, difficulty concentrating, psychomotor

symptoms, “somatic symptoms,” tearfulness, fatigue, irritability,

and difficulty concentrating.      Tr. 342.     Mehdianrad noted

Plaintiff’s “posture, behavior, mood[,]. . . affect . . .,

orientation, judgement, insight, . . . memory[,] . . . attention,

concentration, and thought content” were “all within normal

limits.”   Tr. 343.   Mehdianrad prescribed sertraline and

melatonin.   Plaintiff saw Mehdianrad again on October 24, 2016,

at which time Plaintiff reported she took the sertraline for one

week and stopped because she “felt weird.”          Tr. 339.      Plaintiff


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was not on any medication between June 2016 and October 2016 for

her anxiety during which time Plaintiff reported experiencing

panic attacks, heart palpitations, difficulty concentrating,

insomnia, difficulty falling asleep, insomnia, and anxiety.

Plaintiff’s posture, behavior, mood[,]. . . affect . . .,

orientation, judgement, insight, . . . memory[,] . . . attention,

concentration, and thought content,” however, were “all within

normal limits.”   Tr. 339.     Mehdianrad prescribed escitalopram for

anxiety and hydroxyzine for sleep.         On January 27, 2017,

Plaintiff reported to Mehdianrad that she had mild depression

“due to general pain in her body.”         Tr. 336.    Mehdianrad

prescribed Cymbalta “for general pain” and recommended a follow-

up visit in three months “to adjust medication.”             Tr. 337.        The

ALJ noted Plaintiff experienced a “brief period of exacerbation”

of her anxiety symptoms in July 2017.        Tr. 20.        On July 11, 2017,

Plaintiff was brought to the emergency room by her husband for

psychiatric evaluation.      Plaintiff reported Cymbalta had

“benefitted her panic attacks,” but she had decreased her dosage

and experienced a number of stressors including the death of her

niece and her ex-husband being charged with abusing a child.

Tr. 448.    Plaintiff’s husband reported Plaintiff had been

“increasingly manic seeming with limited sleep and labile mood”

and had “expressed concern that she and her family are being

watched.”   Tr. 448.   The examining medical provider noted


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Plaintiff’s mood and affect were labile; her thought process was

“paranoid, delusional, [and] gradiose”; and her insight and

judgment were “impaired due to psychosis.”             Tr. 449.     Plaintiff

did not want to stay in the hospital, and, after an evaluation,

she was discharged with prescriptions for lorazepam and Zyprexa.

The ALJ noted Plaintiff’s mental symptoms improved significantly

after she started on lithium.         For example, on August 3, 2017,

which was three days after she started taking lithium, Plaintiff

was “clear, bright, [and] alert” on examination.               Tr. 500.        On

August 8, 2017, Plaintiff reported feeling “a lot more stable,”

having “a lot more clarity,” and that “the lithium has helped a

lot.”    Tr. 510.    Plaintiff continued to report “doing well” and

“feel[ing] much better” throughout August 2017.                Tr. 512, 514.

As a result, Plaintiff’s crisis counselor at Lifeworks NW noted

on August 22, 2017, that it was “an appropriate time to close

[Plaintiff’s] episode . . . as she is doing much better and has

positive supports in place.”         Tr. 514.     On August 29, 2017,

treating psychiatrist Landy Sparr, M.D., noted Plaintiff had a

“recent probable manic episode after trying to discontinue

Cymbalta,” but since taking lithium and Zyprexa she has “been

doing better,” “feels more calm[,] and is sleeping better.”

Tr. 532.     Plaintiff reporting having “GI side effects from her

medication,” but Dr. Sparr recommended Plaintiff “wait and see if

side effects reduce with time.”         Tr. 532.      On January 9, 2018,


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Dr. Sparr noted Plaintiff continued to take lithium successfully

and she was “rarely taking Zyprexa.”           Tr. 585.

        In September 2018 Plaintiff reported to Sequoia Mental

Health Services noting she was having panic attacks “every couple

of days.”     Tr. 644.    Plaintiff stated she stopped taking Cymbalta

in “June or July” of 2018, but she continued to take lithium and

Zyprexa and to use marijuana.         Tr. 648-49.      Katie Lee, Q.M.H.P.,

recommended individual therapy sessions, cognitive-behavioral

therapy, and medication management.           On November 16, 2018,

P.M.H.N.P. James Devaney noted Plaintiff’s memory was “intact for

immediate, recent, and remote”; her insight and judgment were

“good”; and she was “doing relatively well.”              Tr. 656.     On

January 3, 2019, Devaney noted Plaintiff’s lithium “levels

indicate levels below effective levels, . . . but [Plaintiff]

concerned because previous dosage, which was effective, resulted

in side effects.”       Tr. 659.    Nevertheless, Plaintiff reported

depression at 0/10, anxiety at 3/10, and psychotic symptoms at

2/10.    Tr. 659.    Devaney increased Plaintiff’s lithium dosage and

directed Plaintiff to have “lithium serum level draw within 7 to

10 days” for review.       Tr. 661.

        The ALJ also noted Plaintiff’s work and earnings history

indicates Plaintiff worked “somewhat minimally and inconsistently

well before the alleged disability onset date.”                Tr. 22.   The ALJ

stated that evidence “raises a question as to whether


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[Plaintiff’s] continuing unemployment is actually due to her

medical impairments.”     Id.

      The Court concludes on this record that the ALJ did not err

when he partially rejected Plaintiff’s testimony regarding the

intensity, persistence, and limiting effects of her symptoms

because the ALJ provided clear and convincing reasons supported

by substantial evidence in the record for doing so.

II.   The ALJ erred when he failed to consider the lay-witness
      statement of Plaintiff’s husband David B., but the error is
      harmless.

      Plaintiff alleges the ALJ erred when he failed to consider

the lay-witness statement of David B.

      Lay-witness testimony regarding a claimant's symptoms is

competent evidence that the ALJ must consider unless he

"expressly determines to disregard such testimony and gives

reasons germane to each witness for doing so."                Lewis v. Apfel,

236 F.3d 503, 511 (9th Cir. 2001).          See also Merrill ex rel.

Merrill v. Apfel, 224 F.3d 1083, 1085 (9th Cir. 2000)("[A]n ALJ,

in determining a claimant's disability, must give full

consideration to the testimony of friends and family members.").

The ALJ's reasons for rejecting lay-witness testimony must also

be "specific."    Stout v. Comm’r, 454 F.3d 1050, 1054 (9th Cir.

2006).   When "the ALJ's error lies in a failure to properly

discuss competent lay testimony favorable to the claimant, a

reviewing court cannot consider the error harmless unless it can


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confidently conclude that no reasonable ALJ, when fully crediting

the testimony, could have reached a different disability

determination."      Id. at 1056.

        On May 18, 2017, David B. filled out a Third-Party Adult

Function Report in which he noted Plaintiff’s IBS “is severe and

debilitating” because it “often . . . keeps her at home and

prevents her from committing to a set schedule, or making plans

more than a day or so ahead.”         Tr. 213.      David B. stated

Plaintiff’s anxiety and panic attacks are “somewhat better with

medication,” but Plaintiff still has anxiety and panic attacks in

“crowded and stressful situations.”           Id.    David B. noted

Plaintiff takes “care of [their] young children and does

housework,” but she “only ventures out from [their] house for

grocery shopping or essential trips.”           Tr. 214.       Plaintiff “calls

relatives and friends,” “visits family,” and goes to her mother’s

house on a regular basis.         Tr. 217.    David B. noted Plaintiff is

able to pay attention for an “above average” amount of time, she

follows written instructions “well,” and gets along with

authority figures “fine.”         Tr. 218.    Plaintiff is “decent” at

handling changes in routine, but does not handle stress “well at

all.”    Tr. 219.

        The ALJ failed to discuss David B.’s Third-Party Function

Report, which Defendant concedes is error.             David B.’s report,

however, is substantially similar to Plaintiff’s testimony, and


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the Court has already concluded the ALJ did not err when he

partially rejected Plaintiff’s testimony because the ALJ provided

support for his opinion based on substantial evidence in the

record.   The Court, therefore, concludes the ALJ’s error was

harmless because the Court concludes “no reasonable ALJ, when

fully crediting the testimony, could have reached a different

disability determination.”      Stout, 454 F.3d at 1056.

III. Opinion of Treating Mental Health Professional Alicia Sager.

     Plaintiff alleges the ALJ erred when he partially rejected

the opinion of Q.M.H.P. Alicia Sager.

     “Because plaintiff filed her application[] after March 27,

2017, new regulations apply to the ALJ's evaluation of medical

opinion evidence.”     Christopher W. v. Comm’r, No. 6:20-CV-

01632-JR, 2021 WL 4635801, at *6 (D. Or. Oct. 7, 2021).              “Under

the [new] regulations, an ALJ ‘will not defer or give any

specific evidentiary weight, including controlling weight, to any

medical opinion(s) or prior administrative medical

finding(s)[.]’”     Id. (quoting 20 C.F.R. §§ 404.1520c(a),

416.920c(a)).   “A prior administrative medical finding is a

finding, other than the ultimate determination about

[disability], about a medical issue made by . . . agency medical

and psychological consultants at a prior level of review . . . in

[a] claim based on their review of the evidence.”             20 C.F.R.

§ 404.1513(a)(5).    In addition, the new regulations rescinded


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SSR 06-03p in which the SSA “explained how [it] considers

opinions and other evidence from sources who are not acceptable

medical sources . . . .         The [new] rules revised [this] polic[y].

. . .    For example, in claims filed on or after March 27, 2017,

the final rules state that all medical sources, not just

acceptable medical sources, can make evidence that [it]

categorize[s] and consider[s] as medical opinions.”                Rescission

of Soc. Sec. Rulings 96-2p, 96-5p, & 06-3p, SSR 96-2P 2017 WL

3928298, at *1 (S.S.A. Mar. 27, 2017).

        “The ALJ must articulate and explain the persuasiveness of a

[medical] opinion or prior finding based on ‘supportability’ and

‘consistency,’ the two most important factors in the evaluation.

Christopher W., 2021 WL 4635801, at *6 (quoting 20 C.F.R.

§§ 404.1520c(a), (b)(1)-(2)).         “The ‘more relevant the objective

medical evidence and supporting explanations presented’ and the

‘more consistent’ with evidence from other sources, the more

persuasive a medical opinion or prior finding.”                Id. (quoting 20

C.F.R. § 404.1520c(c)(1)-(2)).

             The ALJ may, however, is not required, to explain
             how other factors were considered including the
             relationship with the claimant (length, purpose,
             and extent of treatment relationship; frequency of
             examination); whether there is an examining
             relationship; specialization; and other factors,
             such as familiarity with other evidence in the
             claim file or understanding of the Social Security
             disability program's policies and evidentiary
             requirements.

Id. (quoting 20 C.F.R. §§ 404.1520c(b)(2), (c)(3)-(5)).                 But see

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20 C.F.R. § 404.1520c(b)(3)(when an ALJ finds two or more

opinions about the same issue are equally supported and

consistent with the record but not exactly the same, the ALJ must

articulate how these “other factors” were considered).

     On December 31, 2018, Sager completed a Mental Impairment

Questionnaire form in which she stated she had seen Plaintiff

bimonthly since September 18, 2018.        Tr. 614.     Sager noted

Plaintiff’s diagnoses of bipolar disorder, generalized anxiety

disorder, and PTSD and that Plaintiff’s medication causes her to

suffer dizziness, fatigue, confusion, headaches, “stomach upset,

[and a] tactile sensation in [her] brain that feels like popping

[that] effects balance.”     Tr. 615.      Sager completed a check-the-

box form in which she indicated Plaintiff suffers from 53 out of

56 “signs and symptoms.”     Tr. 616.      The three signs or symptoms

that Sager reported Plaintiff does not suffer from are

“pathological dependence, passivity or agressivity [sic]”;

“catatonic or other grossly disorganized behavior”; and

“pathologically inappropriate suspiciousness or hostility.”

Tr. 616.   Sager indicated Plaintiff “reported” she has “no useful

ability to function” in the following areas:           to complete a

normal workday and workweek without interruptions from

psychologically based symptoms, to perform at a consistent pace

without an unreasonable number and length of rest periods, and to

deal with normal work stress.      Tr. 617.     Plaintiff “self-


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reported” that she is “unable to meet competitive standards” in

the following areas:    remembering work-like procedures,

maintaining attention for a two-hour segment, maintaining regular

attendance and be punctual within customary tolerances,

sustaining an ordinary routine without special supervision,

making simple work-related decisions, asking simple questions or

to request assistance, accepting instructions and responding

appropriately to criticism from supervisors, getting along with

coworkers or peers without unduly distracting them or exhibiting

behavioral extremes, setting realistic goals or to make plans

independently of others, dealing with the stress of skilled or

semiskilled work, and using public transportation.              Tr. 617-18.

Sager indicated Plaintiff reported she is “seriously limited” in

her ability to understand and to remember very short and simple

instructions, to carry out very short and simple instructions, to

work in coordination with or proximity to others without being

unduly distracted, to respond appropriately to changes in a

routine work setting, to be aware of normal hazards and to take

appropriate precautions, to understand and to remember detailed

instructions, to carry out detailed instructions, to interact

appropriately with the general public, and to travel in an

unfamiliar place.    Id.     Sager noted Plaintiff has a “limited but

satisfactory” ability to maintain socially appropriate behavior

and to adhere to basic standards of neatness and cleanliness.


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Tr. 618.   As a result of Plaintiff’s self-reported limitations

Sager stated Plaintiff has marked difficulties in maintaining

social functioning, concentration, persistence, or pace and

moderate restriction in her activities of daily living.              Tr. 619.

Sager opined Plaintiff would have four or more “episodes of

decompensation within a 12-month period, each of at least two

weeks duration.”   Id.   Sager indicated Plaintiff has a

           [m]edically documented history of a chronic
           organic mental, schizophrenic, etc., or affective
           disorder of at least 2 years' duration that has
           caused more than a minimal limitation of
           ability to do any basic work activity, with
           symptoms or signs currently attenuated by
           medication or psychosocial support, and . . .

           1.   Three or more episodes of decompensation
                within 12 months, each at least two weeks
                long.

           2.   A residual disease process that has resulted
                in such marginal adjustment that even a
                minimal increase in mental demands or change
                in the environment would be predicted to
                cause the individual to decompensate.

           3.   Current history of l or more years’ inability
                to function outside a highly supportive
                living arrangement with an indication of
                continued need for such an arrangement [and]

           An anxiety related disorder and complete inability
           to function independently outside the area of
           one’s home.

Tr. 619.   Sager anticipated Plaintiff’s impairments would cause

her to be absent from work more than four days per month.

Tr. 20.

     The ALJ found Sager’s statements to be unpersuasive.

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Tr. 23.    The ALJ noted Sager did not provide any medical support

for her statements set out in the check-the-box form and that

Sager indicated she relied on Plaintiff’s self-reported

limitations.    The ALJ also noted the degree of Plaintiff’s mental

impairment indicated by Sager is not supported by the record.

For example, Sager indicated Plaintiff was unable to meet

competitive standards in the area of accepting instructions and

responding appropriately to criticism from supervisors, but

Plaintiff stated in her Adult Function Report that she “get[s]

along with authority figures” “wonderful[ly].”              Tr. 226.

Similarly, David B. noted in his Third-Party Function Report that

Plaintiff “get[s] along with authority figures” “fine.”                Tr. 218.

In addition, there is not any support in the record for many of

the signs and symptoms Sager endorsed.         For example, the evidence

does not indicate Plaintiff has “intense and unstable

interpersonal relationships and impulsive damaging behavior.”

Tr. 616.    Rather, Plaintiff consistently reported having a

“supportive social network” and being “very satisfied” with her

marriage.    See, e.g., Tr. 541, 563, 599, 660.         The record also

does not support Sager’s statement that Plaintiff has had three

or more episodes of decompensation within twelve months, each at

least two weeks long, or a current history of one or more “years’

inability to function outside a highly supportive living

arrangement.”   Tr. 619.     Although the Ninth Circuit has not


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addressed the issue, courts that have evaluated the term “highly

supportive living arrangement” have held it includes places such

as “a hospital, halfway house, board and care facility, or other

environment that provides similar structure.”           Chamberlain v.

Berryhill, No. 7:16-CV-337-RJ, 2018 WL 845544, at *8 (E.D.N.C.

Feb. 13, 2018).    See also Morris v. Astrue, No. 11-cv-248-JL,

2012 WL 4499348 (D.N.H. Sept. 28, 2012)(finding a highly

structured setting existed in a prison environment); Handy v.

Astrue, No. TMD 11-1317, 2012 WL 1605651 (D. Md. May 4, 2012)

(finding a highly supportive living arrangement at a mental-

health facility where the plaintiff lived and received treatment

and medication).   In contrast, courts have found a highly

supportive living arrangement does not exist when a plaintiff

lives in a group home and has his meals prepared and his

medication distributed, but he is “free to come and go as he

please[s],” Miller v. Comm'r of Soc. Sec., No. 3:12 CV 3064, 2014

WL 916945 (N.D. Ohio Mar. 10, 2014), or when a plaintiff's

girlfriend assists him with household chores and sometimes helps

him to manage finances but the plaintiff is otherwise able to

care for his personal needs on a regular basis.             Santiago v.

Colvin, No. 12 Civ. 7052(GBD)(FM), 2014 WL 718424 (S.D.N.Y.

Feb. 25, 2014).    See also Gonsalves v. Astrue, No. 09-181-BW,

2010 WL 1935753, at *4 (D. Me. May 10, 2010)(“[A] ‘highly

structured living arrangement’ is something other than living


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with one's parents while taking care of most of one's personal

needs and making substantial contributions to the household

without a high degree of supervision; it refers to shelters or

group homes, inpatient psychiatric treatment, or an inability to

live on one's own.”); Chamberlain, 2018 WL 845544, at *9 (“living

with a roommate who does the majority of the housework, cooking,

and driving is enough to qualify as a ‘highly supportive living

arrangement.’”).    Plaintiff here, unlike the plaintiffs in

Morris and Handy, was able to care for three young children,

transport family members to and from Idaho, and grocery shop.

      The ALJ also pointed out that the record indicated

Plaintiff’s symptoms improved and remained stable when she was on

medication and attending therapy.

      On this record the Court concludes the ALJ did not err when

he partially rejected Sager’s opinion because the ALJ provided

clear and convincing reasons for doing so based on substantial

evidence in the record.

IV.   The ALJ did not err at Step Five.

      Plaintiff asserts the ALJ erred at Step Five when he found

Plaintiff can perform jobs that exist in significant numbers in

the national economy.     Specifically, Plaintiff contends the ALJ

erred when he found the opinion of reviewing psychologist Scott

Kaper, Ph.D., was persuasive, but identified jobs in the national

economy that have Reasoning Level Two, which, according to


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Plaintiff, exceeds her capabilities as assessed by Dr. Kaper.

Plaintiff also asserts the ALJ erred when he failed to include in

his hypothetical to the VE all of Plaintiff’s limitations as

identified by both Dr. Kaper and Plaintiff.

     As noted, the Commissioner must determine whether the

claimant is able to do any other work that exists in the national

economy if she reaches Step Five of the Regulatory Sequential

Evaluation.   20 C.F.R. §§ 404.1520(a)(4)(v), 416.920(a)(4)(v).

See also Keyser, 648 F.3d at 724-25.         Here the burden shifts to

the Commissioner to show a significant number of jobs exist in

the national economy that the claimant can perform.              Lockwood v.

Comm’r Soc. Sec. Admin., 616 F.3d 1068, 1071 (9th Cir. 2010).                The

Commissioner may satisfy this burden through the testimony of a

VE or by reference to the Medical-Vocational Guidelines set forth

in the regulations at 20 C.F.R. part 404, subpart P, appendix 2.

If the Commissioner meets this burden, the claimant is not

disabled.   20 C.F.R. §§ 404.1520(g)(1), 416.920(g)(1).

     A.     Reasoning Level

            Plaintiff asserts the ALJ erred when he found Plaintiff

could perform jobs that require Reasoning Level Two.              The

Dictionary of Occupational Titles (DOT) separates reasoning

levels into six categories, two of which are relevant here:

                 Level One:        Apply commonsense understanding to
                                   carry out simple one- or two-step
                                   instructions. Deal with
                                   standardized situations with

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                                     occasional or no variables in or
                                     from these situations encountered
                                     on the job.

                  Level Two:         Apply commonsense understanding to
                                     carry out detailed but uninvolved
                                     written or oral instructions. Deal
                                     with problems involving a few
                                     concrete variables in or from
                                     standardized situations.

DOT, App. C, 1991 WL 688702.         The VE identified three jobs that

Plaintiff could perform, all of which require Reasoning Level

Two.   In his Mental Residual Functional Capacity Assessment of

Plaintiff Dr. Kaper found Plaintiff was not significantly limited

in her ability to carry out “very short and simple instructions,”

but she was moderately limited in her ability to carry out

detailed instructions.         Tr. 94.   Dr. Kaper concluded Plaintiff is

“capable of completing simple routine work tasks.                MH sxs would

interfere with her ability to consistently carry out detailed or

complex tasks.”     Tr. 95.     Plaintiff contends this limitation is

consistent only with Reasoning Level One.

            The Ninth Circuit has not held a claimant’s limitation

to simple, routine tasks indicates a claimant is limited to jobs

with Reasoning Level One.         In fact, the Ninth Circuit has held a

“claimant’s limitation to ‘simple and routine work tasks’ is

‘inconsistent with the demands of level-three reasoning’ because

the plaintiff’s residual functional capacity was more consistent

with Level 2 than Level 3 Reasoning.”           Zavalin v. Colvin, 778

F.3d 842, 846-47 (9th Cir. 2015)(emphasis added)(quotation

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omitted).   District courts within the Ninth Circuit have reached

the same conclusion.     See Gilbert v. Colvin, 6:14-cv-00394-AA,

2015 WL 1478441, at *6-*7 (D. Or. Mar. 31, 2015)(collecting cases

and concluding an ALJ’s erroneous finding that a treatment

provider’s “report ‘does not support a finding that [plaintiff]

cannot perform complex tasks’” was harmless because the ALJ

relied on occupations that only required Reasoning Level Two).

            The Court concludes the limitation to “unskilled,

repetitive, routine tasks in two-hour increments” and “up to 9%

less productive than the average worker” in the ALJ’s assessment

of Plaintiff’s RFC is consistent with Dr. Kaper’s assessed

limitations as well as Reasoning Level Two.          The Court,

therefore, concludes the ALJ did not err at Step Five when he

relied on the VE’s testimony that a significant number of jobs

exist in the national and regional economy that Plaintiff can

perform.

     B.     Hypothetical to the VE

            As noted, Plaintiff alleges the ALJ erred when he

failed to include all of Plaintiff’s limitations in his

hypothetical to the VE.      Specifically, Plaintiff alleges the ALJ

failed to include limitations identified by Plaintiff and David

B. in their statements and by Sager in her opinion.

            The Court has already concluded the ALJ did not err

when he rejected portions of limitations asserted by Plaintiff,


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David B. and Sager.     On this record, therefore, the Court also

concludes ALJ did not err when he did not include those

limitations in his hypothetical to the VE.

V.    Other Issue

      On September 21, 2021, Plaintiff filed Supplemental

Citations to Intervening Case Law in which she asserts the United

States Supreme Court’s decisions in Seila Law LLC v. CFPB, 140 S.

Ct. 2183 (2020), and Collins v. Yellin, 141 S. Ct. 1761 (2021),

establish:    (1) the limitation on the President's power to remove

the Commissioner of the SSA is unconstitutional; (2) the

Commissioner who was heading the SSA at the time Plaintiff's DIB

application was pending before the Appeals Council was not

properly in office; and, therefore, (3) the ALJ who heard and

decided Plaintiff's case and the Appeals Council who decided

Plaintiff’s appeal were without constitutional authority to do

so.   The Court disagrees.

      As one court explained:

             [U]nlike [in] Seila Law, Plaintiff does not allege
             facts that support a finding that her injury, the
             denial of disability benefits, can be or is traced
             to the conduct of the SSA Commissioner. . . .
             Plaintiff has not alleged any facts or provided
             any evidence . . . suggesting that when the ALJ
             denied her claim for Social Security benefits, the
             then-SSA Commissioner played any role whatsoever
             in that decision. Unlike the Director of the CFPB
             who was directly involved in decisions that
             impacted and caused alleged injury to Seila Law,
             Plaintiff does not allege . . . the SSA
             Commissioner took any action that is in any way
             related to the ALJ's decision.

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                                 * * *
          Plaintiff has not shown that whether the President
          could remove the SSA Commissioner without
          limitations or an acting commissioner was in
          office beyond the statutory 210 days allowed
          impacted the independence of the ALJ or [the]
          decision in Plaintiff's case. It is well settled
          that the ALJ must “exercise[ ] his independent
          judgment on the evidence before him....” Brennan
          v. Dep't of Health & Human Servs., 787 F.2d 1559,
          1562 n.1 (Fed. Cir. 1986)(quoting Butz v.
          Economou, 438 U.S. 478, 513 (1978)). Because
          Plaintiff offers nothing that traces the decision
          by the ALJ in her case to any alleged injurious
          conduct by the SSA Commissioner, she has not
          demonstrated traceability and her constitutional
          violation claim fails for lack of standing.

Brinkman v. Kijakazi, No. 2:21-CV-00528-EJY, 2021 WL 4462897, at

*2 (D. Nev. Sept. 29, 2021)(citing Seila Law, 140 S. Ct. at 2196;

Collins, 141 S. Ct. at 1779.      Plaintiff here like the plaintiff

in Brinkman   does not allege “the SSA Commissioner took any

action that is in any way related to the ALJ's decision” or the

decision by the Appeals Council.

     The Court, therefore, concludes the authorities cited by

Plaintiff in her supplemental briefing do not affect the

disposition of this matter.



                                CONCLUSION

     For these reasons, the Court AFFIRMS the decision of the




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Commissioner and DISMISSES this matter.

IT IS SO ORDERED.

     DATED this 26th day of October, 2021.



                                      /s/ Anna J. Brown


                                  ANNA J. BROWN
                                  United States Senior District Judge




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